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                         THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

 WACKER DRIVE EXECUTIVE SUITES,
 LLC, on behalf of itself, individually, and on
 behalf of all others similarly situated,

                          Plaintiff,                    Case No. 1:18-cv-5492

        v.                                              Hon. Judge Sunil R. Harjani

 JONES LANG LASALLE AMERICAS
 (ILLINOIS), LP,

                          Defendant.

                                       JOINT STATUS REPORT

       Pursuant to the Court’s April 7, 2022 order (Dkt No. 196), Plaintiff Wacker Drive

Executive Suites, LLC (“Plaintiff”) and Defendant Jones Lang LaSalle Americas (Illinois), LP

(“JLL”) (collectively, “the parties”) respectfully submit this Joint Status Report:

       1. On April 7, 2022 the Court denied Plaintiff’s motion for class certification. (Dkt. No.

             196). Plaintiff did not seek leave to file an interlocutory appeal under Federal Rule of

             Civil Procedure 23(f). The Court ordered the parties to submit a joint status report

             advising the Court on proposed next steps, including whether the parties wished to

             engage in settlement discussions to resolve Plaintiff’s individual claims. (Id.). The

             Court further directed the parties to meet and confer regarding issues related to the

             possible applicability of the primary jurisdiction doctrine to this case. (Id.).

       2. Settlement: The parties have engaged in settlement talks but have not reached a

             resolution. The parties believe that a referral to another Magistrate Judge would help

             facilitate those discussions.

       3. Primary Jurisdiction Doctrine: Plaintiff’s counsel is also counsel to plaintiff in the

             case captioned Goddess and Baker Wacker L.L.C. v. Sterling Bay Companies, L.L.C.,
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          referenced in the Court’s April 7, 2022 order (see Dkt. No. 196). On April 12, 2022,

          Plaintiff’s counsel advised JLL’s counsel that the National Labor Relations Board

          (“NLRB”) issued a determination that the “evidence in that [Goddess and Baker] case

          was insufficient to prove that the events complained of in [the] charge occurred within

          6 months before the filing and service of the instant charge” and, accordingly, “Section

          10(b)” of the NLRA barred further proceedings on the charge with the NLRB. See also

          Goddess and Baker, Case No. 1:21-cv-01597, Dkt. No. 43 (Apr. 12, 2022 Joint Status

          Report) ¶¶ 3-8. Here, as Plaintiff’s claims relate to events that also occurred well over

          six-months ago, the NLRB likely would determine that it is time-barred from

          proceeding with a charge in this case. See Dkt. No. 76 (Amended Compl.) ¶ 18

          (Plaintiff’s tenancy in a JLL-managed building ended in December 2017).

      4. Next Steps:

             a. Plaintiff’s Position: Plaintiff proposes that the Court set a date by which to

                  advise it of the status of settlement in 45-60 days.

             b. Defendant’s Position: While JLL will continue to engage in settlement

                  discussions, JLL submits that the parties are sufficiently far apart that the Court

                  should (i) set a briefing schedule for dispositive motions and Daubert motions;

                  and (ii) set a trial date for Plaintiff’s individual claim.


Dated: April 29, 2022                                 Respectfully submitted,


WACKER DRIVE EXECUTIVE SUITES,                        JONES LANG LASALLE AMERICAS
LLC                                                   (ILLINOIS), LP
/s/ Anna M. Ceragioli                                 /s/ Scott T. Schutte
    One of Its Attorneys                                  One of Its Attorneys

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James B. Zouras                                       Scott T. Schutte
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                                CERTIFICATE OF SERVICE

       I certify that on the 29th day of April 2022, a true and correct copy of the foregoing

document was electronically filed with the Clerk of the Court using the Court’s CM/ECF system,

which will send notification to the following attorneys of record for Defendant:

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